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                                                  United States Department of Justice

                                                  United States Attorney
                                                  Northern District of New York

                                                  100 South Clinton Street, P.O. Box 7198    Tel.: (315) 448-0672
                                                  James M. Hanley Federal Building           Fax: (315) 448-0646
                                                  Syracuse, New York 13261-7198


                                                  April 26, 2024

VIA CM/ECF
Hon. Thérèse Wiley Dancks
U.S. Magistrate Judge
Federal Building and U.S. Courthouse
P.O. Box 7346
Syracuse, New York 13261-7346

       Re:     Long et al. v. U.S. ICE & U.S. CBP: Joint Status Report
               Civil Action No.: 5:23-CV-1564 (DNH/TWD)

Dear Judge Dancks:

        This office represents Defendants in this Freedom of Information Act (“FOIA”) case.
Please accept this letter as a report on the conference as a joint status report as required by this
Court’s Text Order dated April 3, 2024. See Dkt. # 22. The parties have continued to explore
potential resolution of this matter. On April 19, 2024, Plaintiffs provided Defendants with a
written proposal. Defendants are currently internally reviewing the proposal to determine how to
proceed. On April 25, 2024, counsel for the parties held a meet-and-confer to discuss some
discrete points of the proposal.

        Therefore, the parties jointly and respectfully request that this Court enter an Order
directing the parties to file a joint status report on or before May 13, 2024 regarding the status of
their discussions.

                                                  CARLA B. FREEDMAN
                                                  United States Attorney


                                          By:        /s/
                                                  David M. Katz
                                                  Assistant United States Attorney
                                                  Bar Roll No. 700065
